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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION



UNITED STATES OF AMERICA                 §
                                         §
versus                                   §            Case Number: 4:19−cr−00254
                                         §
Afzal Arsalan Rehman                     §


                          Notice of Deficient Pleading

     If you intend to seek compassionate release under 3582(c)(1) you must submit a
form motion.


Date: December 10, 2024
                                                             Nathan Ochsner, Clerk
